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                             FEDERAL CORRECTIONAL INST. #1
                             P.O. BOX 1000
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